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11   Attorneys for Plaintiffs
12
                                  UNITED STATES DISTRICT COURT
13
                                NORTHERN DISTRICT OF CALIFORNIA
14
15
     Center for Biological Diversity, et al.         Case No.: 4:21-cv-00345-KAW
16
17          Plaintiffs,                              AFFIDAVIT OF SERVICE

18          v.

19   NOAA Fisheries, et al.
20          Defendants.
21
22          I hereby certify that on January 15, 2021, the Complaint; Civil Cover Sheet; Corporate

23   Disclosure Statement; Notice of Case Assignment to Magistrate Judge; Magistrate Consent

24   Form; and Issued Summons were sent to the following parties by certified mail pursuant to

25   Federal Rules of Civil Procedure Rule 4 (i)(1)(A)(ii) and (i)(2):

26
     NOAA Fisheries                                    Admiral Karl L. Schultz, Commandant
27   1315 East-West Highway                            Commandant CG-LCL
28   Silver Spring, MD 20910                           US Coast Guard HQ


     Affidavit of Service                                                                            Page 1
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     Chris Oliver, Assistant Administrator              2703 MLK Jr. Ave., S.E. Stop 7213
1    NOAA Fisheries                                     Washington, D.C. 20593-7213
2    1315 East-West Highway
     Silver Spring, MD 20910                            United States Attorney General
3                                                       U.S. Department of Justice
     Commandant CG-LCL                                  950 Pennsylvania Avenue, N.W.
4    US Coast Guard HQ                                  Washington, D.C. 20530-0001
     2703 MLK Jr. Ave., S.E. Stop 7213
5    Washington, D.C. 20593-7213                        Civil Process Clerk
6                                                       David L. Anderson, United States Attorney
                                                        Federal Courthouse
7                                                       450 Golden Gate Avenue
                                                        San Francisco, CA 94102
8
9
     Receipts and delivery confirmation for Defendants U.S. Coast Guard and U.S. Coast Guard
10
     Commandant Karl L. Schulz, the United States Attorney General, and the U.S. Attorney for the
11
     Northern District are attached as Exhibit A. As also demonstrated in Exhibit A, the mailings to
12
     NOAA Fisheries and NOAA Fisheries Assistant Administrator Chris Oliver left the U.S. Postal
13
     Service local distribution center on January 21, 2021 but are still awaiting delivery
14
     confirmation. Plaintiffs have repeatedly experienced difficulty serving NOAA Fisheries in prior
15
     litigation; in particular, mailings are delivered to the agency but then are not scanned or
16
     processed to show delivery confirmation.
17
     Respectfully Submitted this 5th day of February, 2021.
18
19
                                                   s/ Brian Segee
20                                                 Brian Segee (Bar No. 200795)
                                                   Center for Biological Diversity
21                                                 660 S. Figueroa Street, Suite 1000
22                                                 Los Angeles, CA 90017
                                                   (805) 750-8852
23                                                 bsegee@biologicaldiversity.org

24                                                 Attorney for Plaintiffs
25
26
27
28

     Affidavit of Service                                                                           Page 2
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             Exhibit A
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